                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MISSOURI

                                     )
ANGELA GATERMAN and                  )
ROBERT A. PAULI, JR.,                )       No. 17-CV-2837-JCH
                                     )
      Plaintiffs,                    )
                                     )
v.                                   )
                                     )
KAVULICH & ASSOCIATES,               )
P.C. and GARY KAVULICH,              )
                                     )
      Defendants.                    )
                                     )
                                     )
                                     )

                    REQUEST FOR ENTRY OF DEFAULT

TO:   GREGORY J. LINHARES, CLERK OF COURT
      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF MISSOURI

      Please enter the default of Defendants KAVULICH & ASSOCIATES,

P.C. and GARY KAVULICH under Rule 55(a) of the Federal Rules of Civil

Procedure, for failure to plead or otherwise defend the above-captioned

action, as fully appears from the court file herein and from the accompanying

Declaration of Jonathan R. Miller.


Dated: Winston-Salem, NC
       April 5, 2018


                                             /s/ Jonathan R. Miller
                                             Jonathan R. Miller
                                             One of Plaintiffs’ Attorneys
Attorneys for Plaintiffs

Jonathan R. Miller, MO Bar #64031
Law Office of Jonathan R. Miller, PLLC
(d/b/a Salem Community Law Office)
301 N. Main Street, Suite 2415
Winston-Salem, NC 27101
Tel: (336) 837-4437

Brian L. Bromberg
(Will be applying for admission pro hac vice)
Bromberg Law Office, P.C.
26 Broadway, 21st Floor
New York, NY 10004
Tel: (212) 248-7906
